               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:16 cr 51-4


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )
                                             )            ORDER
STEVEN WHITE,                                )
                                             )
                  Defendant.                 )
____________________________________         )


       THIS MATTER has come before the undersigned pursuant to a Motion of

Defendant Steven White for Revocation or Amendment of Order of Detention (#32)

filed by counsel for Defendant.   The undersigned has considered the motion as

being a motion to consider the release of the Defendant based upon a change of

circumstances. Upon the hearing of the motion, it appeared that the Defendant has

obtained entry into an inpatient substance abuse treatment program at FIRST at Blue

Ridge, Inc. in Ridgecrest, North Carolina.       At the hearing of the motion the

Government advised that the Government did not object to the release of Defendant

to that inpatient treatment program and therefore the motion of the Defendant

considered as a motion to release Defendant on terms and conditions of pretrial

release based upon a change of circumstances, pursuant to 18 U.S.C. § 3142, will be

allowed.



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                                    ORDER

      IT IS, THEREFORE, ORDERED that the Motion of Defendant Steven

White for Revocation or Amendment of Order of Detention (#32) which is

considered as a motion for the release of Defendant, pursuant to 18 U.S.C. § 3142,

based upon a change of circumstances, will be ALLOWED as provided in document

#34 filed in this matter.



                                            Signed: June 9, 2016




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